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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

VERONICA KARIUKI,                                     :
                                                      :
               Plaintiff,                             :
                                                      :       Case No. 1:15-cv-00934-TSE-JFA
       v.                                             :
                                                      :
ETEAM, INC.,                                          :
                                                      :
               Defendant.                             :

                              JOINT NOTICE OF SETTLEMENT

       Plaintiff Veronica Kariuki (“Plaintiff”) and Defendant eTeam, Inc. (“Defendant”), by and

through counsel, (collectively the “Parties”) file this Joint Notice of Settlement, and inform the

Court as follows:

       1. Plaintiff Veronica Kariuki has reached an agreement with Defendant Eteam, Inc. to

            resolve the claims against Defendant.

       2. The Parties are in the process of finalizing a confidential settlement agreement and

            will be filing a Stipulation of Dismissal with the Court shortly.

       3. Accordingly, Defendant will not be filing an opposition to Plaintiff’s Motion to

            Compel, and Plaintiff will not be filing oppositions to Defendant’s Motion to Compel

            and Motion to Strike, all of which are scheduled to be heard by this Court on January

            15, 2016 at 10:00 a.m.

       4. Accordingly, Plaintiff and Defendant jointly request that all pending motions in this

            matter be removed from the Court’s docket.




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Respectfully Submitted,

FOR DEFENDANT:                                    FOR PLAINTIFF:


/s/    Tina M. Maiolo                             /s/ J. Andrew Baxter
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                                                  Counsel for Plaintiff Veronica Kariuki



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was electronically filed this 13th day of
January, 2016 and served electronically upon counsel of record for all parties in this matter:



                                           /s/ J. Andrew Baxter
                                           J. Andrew Baxter (VSB # 78275)




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